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                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA         )
                                 )
                                 )
v.                               )     Case No. 21-cr-00738-BAH
                                 )
MICHAEL OLIVERAS                 )
                                 )
                                 )
               Defendant         )
                                 )




      DEFENDANT MICHAEL OLIVERAS’ UNOPPOSED MOTION TO
     CONTINUE SENTENCING AND EXTEND ALL FILING DEADLINES
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      NOW comes Defendant Michael Oliveras by and through his counsel of

record William L. Shipley Jr., and respectfully requests this Honorable Court to

continue the Sentencing Hearing and all filing deadlines regarding sentencing.

      On January 27, 2023, Defendant Oliveras accepted and entered into a

plea agreement on for a violation of 18 U.S.C. 111(a). See ECF. No 59.

      On that same date this Court set Defendant Oliveras’ Sentencing Hearing

for April 21, 2023 at 10:00 am. See 01/27/2023 Minute Entry.

      On April 11, 2023, Defendant Oliveras retained undersigned counsel,

William L. Shipley, as his counsel for the purpose of sentencing. Undersigned

counsel filed a notice of appearance the same day. See ECF. No. 68.

      Mr. Olivares new counsel requests this continuance in order to become

familiar with the factual background of the case, to consult with Mr. Olivares

regarding a Sentencing Statement, and to prepare to effectively represent him

at the Sentencing Hearing.

      Based thereon, Defendant Oliveras respectfully asks this Court to vacate

the Sentencing Hearing set for April 21, 2023, and to reset the Sentencing

Hearing the first week of June 2023 or whatever date thereafter is available on

the Court’s calendar.




      Undersigned counsel did discuss this matter with Government Counsel
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Ashely Akers by telephone, and the Government does not oppose Attorney

Shipley’s late entry into the case or the requested continuance.


Dated: April 12, 2023                      Respectfully Submitted,

                                           /s/ William L. Shipley
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